Case 2:23-cv-00936-AMA-CMR           Document 95        Filed 01/16/25     PageID.803      Page 1
                                           of 4




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 Attorneys for Defendants Kevin Long
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                        IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

  KATE GRANT and KARMANN KASTEN,
  LLC,                                                 RESPONSE IN OPPOSITION TO
                                                        PLAINTIFFS’ SHORT FORM
                 Plaintiffs,                              DISCOVERY MOTION
  vs.

  KEVIN LONG; MILLCREEK                              Case No: 2:23-cv-00936-AMA-CMR
  COMMERCIAL PROPERTIES, LLC;
  COLLIERS INTERNATIONAL; BRENT                            Judge Ann Marie McIff Allen
  SMITH; SPENCER TAYLOR; BLAKE
  MCDOUGAL; and MARY STREET,                           Magistrate Judge Cecilia M. Romero

                Defendants.


        Defendants Kevin Long and Millcreek Commercial Properties, LLC (collectively, “Long”)

 respond to Plaintiffs’ Short Form Discovery Motion. (Dkt. 94, the “Motion”). As communicated

 to counsel for Plaintiffs before the Motion was filed, Long is willing to combine the depositions

 of Plaintiffs Kate Grant (“Grant”) and Karmann Kasten, LLC (“Karmann”). During the meet and

 confer, Plaintiffs offered to extend the combined deposition to up to 14 hours if the second day
Case 2:23-cv-00936-AMA-CMR              Document 95       Filed 01/16/25      PageID.804       Page 2
                                              of 4




 would not be in-person and consecutive. The dispute is over whether Defendants can continue

 taking the combined deposition in person during a second consecutive day.

          Grant and Karmann constitute two separate plaintiffs – regardless of whether Plaintiffs are

 correct that their interests are “aligned,” and Long is entitled to ask questions about the structure

 of Karmann and the relationship between Grant and Karmann. Since the combined deposition

 involves two separate plaintiffs, Long and the other Defendants should be able to take up to 14

 hours – on consecutive, in-person days – to pose questions to Grant and Karmann.

          Good cause also exists for up to 14 hours of in-person deposition time on consecutive days

 because (1) the Amended Complaint in this case is 64 pages long, with twelve causes of action

 and 392 paragraphs of allegations involving complex securities law issues; and (2) Plaintiffs’

 deposition will involve questions posed by six lawyers – from six different law firms – representing

 Defendants. See FRCP 30(d)(1) (the “court must allow additional time consistent with Rule

 26(b)(1) and (2) if needed to fairly examine the deponent”); Kleppinger v. Texas Dep't of Transp.,

 283 F.R.D. 330, 333 (S.D. Tex. 2012) (noting that “[i]n deciding whether there has been a fair

 examination, the court may consider . . . the need for each party to examine the witness in multi-

 party cases.”)

          Plaintiffs’ insistence that the combined deposition be completed in one day is unreasonable.

 With six different lawyers asking questions regarding a 64-page Amended Complaint, it would be

 unrealistic to expect the combined deposition to be completed in one long day. The combined

 deposition will likely last close to 14 hours, as the six defense attorneys explore the twelve causes

 of action at issue. To force a court reporter and counsel for Defendants to complete close to 14

 deposition hours in one day would not be feasible.


 4916-3473-0767                                    2
Case 2:23-cv-00936-AMA-CMR             Document 95        Filed 01/16/25      PageID.805       Page 3
                                             of 4




          Even if Grant were correct (which she has not demonstrated) that it would be “very

 difficult” for her to be available in Utah for two consecutive days, such difficulty would not excuse

 her from making herself available in Utah on two consecutive days for the combined deposition.

 Should this case go to trial, Grant will be required to be in Utah for multiple consecutive days or

 even consecutive weeks. Grant chose the forum in this case, and Grant is obligated to spend

 consecutive days in Utah for up to 14 hours to complete the combined deposition. The Motion

 should be denied.



          DATED this 16th day of January, 2025.


                                               PARR BROWN GEE & LOVELESS

                                               By: /s/ Bentley J. Tolk
                                               Rodger M. Burge
                                               Terry E. Welch
                                               Bentley J. Tolk

                                               Attorneys for Defendants Kevin Long and
                                               Millcreek Commercial Properties, LLC




 4916-3473-0767                                   3
Case 2:23-cv-00936-AMA-CMR             Document 95        Filed 01/16/25     PageID.806       Page 4
                                             of 4




                                  CERTIFICATE OF SERVICE

          I hereby certify that on January 16, 2025, I caused to be served a true and correct copy of

 the foregoing RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR SHORT

 FORM DISCOVERY via the CM/ECF system on all counsel of record:



                                                                       /s/ Bentley J. Tolk




 4916-3473-0767                                    4
